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 1                            UNITED STATES DISTRICT COURT
 2                         NORTHERN DISTRICT OF CALIFORNIA
 3                                      SAN JOSE DIVISION
 4
                                                 Case No. 5:24-cv-06101-SVK
 5   YELP INC.,
                                                 [PROPOSED] ORDER GRANTING
 6                         Plaintiff,            DEFENDANT GOOGLE LLC’S REQUEST
                                                 FOR CONSIDERATION OF DOCUMENTS
 7                    v.                         INCORPORATED BY REFERENCE AND
                                                 FOR JUDICIAL NOTICIAL NOTICE, AND
 8   GOOGLE LLC,                                 MOTION TO DISMISS COMPLAINT
 9                                               Date:    December 17, 2024
                           Defendant.            Time:    10 a.m.
10                                               Place:   Courtroom 6, 4th Floor
                                                 Judge:   Magistrate Judge Susan van Keulen
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        Case 5:24-cv-06101-SVK Document 24-1 Filed 10/28/24 Page 2 of 2




 1                                       [PROPOSED] ORDER

 2          Before the Court is Defendant Google LLC’s Motion to Dismiss Plaintiff’s Complaint. The

 3   Court, having considered all papers in support of and in opposition to the Motion to Dismiss, the

 4   argument of counsel, and for good cause shown:

 5          HEREBY ORDERS that Defendant Google LLC’s Request for Consideration of

 6   Documents Incorporated By Reference and For Judicial Notice is GRANTED; and

 7          FURTHER HEREBY ORDERS that Defendant Google LLC’s Motion to Dismiss is

 8   hereby GRANTED, and Plaintiff’s claims are DISMISSED with prejudice.

 9          IT IS SO ORDERED.

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11   Dated: _________________

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                                                          The Honorable Susan van Keulen
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                                                           UNITED STATES MAGISTRATE JUDGE
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                                           [PROPOSED] ORDER
                                        Case No. 5:24-cv-06101-SVK
